 1   Jason E. Anderson
     8015 15th Ave NW Ste 5
 2
     Seattle, WA 98117
 3   (206) 706-2882

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        IN THE UNITED STATES BANKRUPTCY COURT WESTERN DISTRICT OF
 6
                                     WASHINGTON AT SEATTLE
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                                                          )
 9                                                        )
     In Re:                                               )   Bankruptcy Case No 16-11049
10                                                        )
     DIRK M MAYBERRY                                      )
11                                                        )
                                                          )
12                                                        )   ANSWER TO PETITION FOR
                                                          )   INVOLUNTARY BANKRUPTCY
13                                                        )
                                                          )
14                                                        )
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17            Dirk M. Mayberry (hereinafter "respondent") answers the petition for involuntary

18   bankruptcy as follows:

19                            I. CHAPTER OF THE BANKRUPTCY CODE

20      1. Respondent denies that Chapter 7 is the appropriate Chapter in the event an order for

21            relief is entered. In the event an order for relief is entered, it should be as a Chapter 11

22            debtor.

23                                          II. IDENTITY OF DEBTOR

24      2. Respondent admits his name is Dirk Martin Mayberry.

25      3. Respondent denies that the entities identified in paragraph three are other names or

26            alter-egos for Dirk Mayberry.

27      4. Respondent admits the last four digits of his social security number are listed.

28      5. No response required.


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     PETITION Page 1 of 3                           -1-
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 1     6. I admit that I often receive mail at the address, PO Box 94744, Seattle, WA 98124. I
 2        deny that 4206 B Rainier Ave S, Seattle, WA, 98118 is my principal place of
 3        business.
 4     7. Respondent is self employed.
 5     8. Respondent admits the bulk of his debts are business debts.
 6     9. Respondent denies bankruptcy cases are currently pending against Bridget Baldwin or
 7        Dirk M. Mayberry Inc.,.
 8                                    III. REPORT ABOUT THE CASE
 9     10. Respondent admits he has resided in Washington for the last 180 days.
10     11. Respondent denies that Erica Fraser and David Leen are eligible to file this petition.
11        Respondent is unable to determine whether Princess Brown is eligible to file this
12        petition at this time. Respondent further denies he is generally not paying such
13        debtors debts as they become due.
14     12. Respondent is unable to admit nor deny this allegation at this time.
15     13. Respondent denies that each of the Petitioners are separate unsecured creditors with
16        claims that are "not contingent as to liability or the subject of a bona fide dispute as to
17        liability or amount" Upon information and belief, to the extent any petitioner has a
18        claim, that petitioners claim is entirely secured, at least one has been paid in full, and
19        the petitioners claims do not represent three separate unliquidated claims.
20                                         IV. REQUEST FOR RELIEF
21     14. Respondent denies Petitioner's request for Relief and further denies that Petitioners
22        are entitled to any relief of any kind under the US Bankruptcy Code.
23                                        V. AFFIRMATIVE DEFENSES
24     15. Respondent notes that there are less than three eligible creditors who have filed the
25        petition against Respondent. Respondent is reviewing his various records to
26        determine whether he has twelve unsecured creditors which he believes is likely.
27        Respondent asks to supplement this answer after that review is completed and he is
28        able to list these creditors.

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 1       16. The Petitioners have state court remedies that are superior to a petition for an
 2             involuntary bankruptcy.
 3       17. The decision to file an involuntary petition was made in bad faith.
 4       18. A workout of the petitioners claims are ongoing that will resolve all claims in full.
 5

 6             The respondent hereby prays for an order dismissing this petition and for an award of
 7   attorney fees and such other relief as is appropriate if the petitioners maintain this petition for
 8   relief.
 9

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11                                                          March 20, 2016
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13                                                          By: __/s/ Jason Anderson______
                                                            Jason E. Anderson WSBA #32232
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                                                            Attorney for Alleged Debtor
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